          Case 5:20-cv-00307-TES Document 60 Filed 06/06/21 Page 1 of 4




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF GEORGIA
                                   MACON DIVISION

 HANS OWENS,

         Plaintiff,

 v.

 PERDUE FARMS INC. & PERDUE
 FOODS LLC,                                                  CIVIL ACTION NUMBER:

                 Defendants,                                     5:20-cv-00307-TES

 AND

 PERDUE FARMS INC.,

                 Third-Party Plaintiff,

 v.

 THE VINCIT GROUP d/b/a QSI INC.,

         Third-Party Defendant,


                      STIPULATION FOR SUBSTITUTION OF PARTIES


       Plaintiff, Perdue Farms Inc., and Perdue Foods LLC hereby agree and stipulate as follows:

       1) The undersigned attorneys agree and confirm that they represent the parties to this

stipulation and have authority to enter into this stipulation.

       2) The parties hereby agree to stipulate to substitute Perdue Foods LLC in place of Perdue

Farms Inc. in the above civil action. Perdue Farms Inc. will be dismissed from this action without

prejudice. A joint Motion and Consent Order to Dismiss Perdue Farms Inc. will be filed by counsel

for Plaintiff pursuant to Federal Rule of Civil Procedure 41.
         Case 5:20-cv-00307-TES Document 60 Filed 06/06/21 Page 2 of 4




       3) This Stipulation is being filed contemporaneously with Plaintiff’s withdrawal of his

Motion for Reconsideration as to this Court's April 29, 2021 Order dismissing Perdue Foods LLC.

       4) The Parties stipulate and agree that Perdue Foods LLC owns and operates the facility

where Plaintiff was injured.

       Respectfully submitted this 6th day of June, 2021.


 HALL BOOTH SMITH, P.C.                            BEASLEY, ALLEN, CROW, METHVIN,
                                                   PORTIS & MILES, P.C.
 /s/ Tiffany R. Winks                              /s/ Kendall C. Dunson
 _________________________________                 _____________________________________
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                                               2
         Case 5:20-cv-00307-TES Document 60 Filed 06/06/21 Page 3 of 4




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF GEORGIA
                                  MACON DIVISION

 HANS OWENS,

        Plaintiff,

 v.

 PERDUE FARMS INC. & PERDUE
 FOODS LLC,                                         CIVIL ACTION NUMBER:

                Defendants,                            5:20-cv-00307-TES

 AND

 PERDUE FARMS INC.,

                Third-Party Plaintiff,

 v.

 THE VINCIT GROUP d/b/a QSI INC.,

        Third-Party Defendant,


                                 CERTIFICATE OF SERVICE


       I hereby certify that I have filed a copy of the foregoing STIPULATION FOR

SUBSTITUTION OF PARTIES using the Court's ECF/CM E-file system, which will

automatically serve counsel of record as follows:

                              Kendall C. Dunson, Esq.
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                         Kendall.dunson@beasleyallen.com
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                                                3
        Case 5:20-cv-00307-TES Document 60 Filed 06/06/21 Page 4 of 4




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      Dated this 6th day of June, 2021.


                                                HALL BOOTH SMITH, P.C.

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                                            4
